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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

JAMES R. WHITWELL,

        Plaintiff,
                                                     Case No. 20-cv-780-jdp
   v.

NATASHA VANLIESHOUT, CYNTHIA
EVANSON, WILLIAM WARD, and
KEVIN KAJER,

        Defendants.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants dismissing this case.




        /s/                                             1/11/2021
        Peter Oppeneer, Clerk of Court                        Date
